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                      IN THE UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI

IN RE:                                                    )
                                                          )
JENNIFER RENEE WARD,                                      ) Chapter 13
                                                          ) Case No. 19-20012-DRD-13
                                  Debtor(s)               )

                                       MOTION TO DISMISS

         The Missouri Department of Revenue, a Creditor herein, in support of its Motion to Dismiss

states to the Court as follows:

         1.     Debtor has failed or refused to file the following tax return with the State of Missouri:

2017 individual income tax return. Any tax due for this tax period is entitled to priority pursuant to

11 U.S.C. § 507(a)(8).

         2.     This tax return will provide the Missouri Department of Revenue with information

necessary for the completion and filing of claims in this bankruptcy proceeding.

         3.     Debtor’s failure to file the aforementioned tax return constitutes an unreasonable

delay which is prejudicial to the Missouri Department of Revenue and is grounds for dismissal under

11 U.S.C. § 1307(c)(1).

         4.     Further, the court pursuant to 11 U.S. C. § 105(a) is given power to issue any order

necessary or appropriate to enforce or implement the provisions of Title 11 of the United States

Code.

         5.     The continuation of the bankruptcy estate without the filing of the tax return is not in

the best interest of the creditors of this estate; is in violation of the laws of the State of Missouri; and

would inequitably treat the State of Missouri by preventing it from receiving the payments to which



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it is entitled under the Bankruptcy Code.

       6.      Upon the filing of the above-mentioned tax return or notarized affidavit stating

sufficient cause for the non-filing of said return, the Missouri Department of Revenue will file a

Notice of Compliance.

       WHEREFORE, the Missouri Department of Revenue prays for an order dismissing Debtor’s

Chapter 13 proceeding, and for such other relief as the Court deems just and proper.

                                             Eric Schmitt, Attorney General
                                             State of Missouri

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